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 5   Attorneys for Plaintiff
     ANTHONY BOUYER
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 7
                          UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
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10
         ANTHONY BOUYER, an               Case No.: 2:20-cv-06930-PA-AS
11       individual,
12                                        Hon. Percy Anderson
         Plaintiff,
13                                        NOTICE OF VOLUNTARY
14       v.                               DISMISSAL WITH PREJUDICE
                                          PURSUANT TO FEDERAL RULE OF
15       KENYON NORTH                     CIVIL PROCEDURE 41(a)(1)(A)(i)
16       HOLLYWOOD, LLC, a
         California limited liability     Complaint Filed: July 31, 2020
17       company; and DOES 1-10,          Trial Date: None
18       inclusive,

19       Defendants.
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                      NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
Case 2:20-cv-06930-PA-AS Document 14 Filed 09/17/20 Page 2 of 2 Page ID #:63

 1         TO THE COURT AND ALL PARTIES:
 2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
 3   Plaintiff Anthony Bouyer (“Plaintiff”) requests that this Court enter a dismissal
 4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
 5   Each party shall bear his or its own costs and attorneys’ expenses.
 6
 7                                          Respectfully submitted,
 8
 9    DATED : September 17, 2020            MANNING LAW, APC

10                                          By: /s/ Joseph R. Manning, Jr.
                                              Joseph R. Manning, Jr.
11
                                              Attorney for Plaintiff
12                                            Anthony Bouyer
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                    NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
